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10   Attorneys for Plaintiffs

11                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                   OAKLAND DIVISION
13   DANIEL BERMAN, STEPHANIE
14   HERNANDEZ, and ERICA RUSSELL,
                                                         Case No. 4:18-cv-01060-YGR
15                          Plaintiffs,                  DECLARATION OF JODI NUSS IN
            v.                                           SUPPORT OF PLAINTIFFS’
16                                                       SECOND RENEWED MOTION FOR
     FREEDOM FINANCIAL NETWORK, LLC,                     CLASS CERTIFICATION
17   FREEDOM DEBT RELIEF, LLC, FLUENT,
18   INC., and LEAD SCIENCE, LLC,                        JURY TRIAL DEMAND

19                          Defendants.                 Complaint Filed: February 19, 2018

20                                                      Honorable Yvonne Gonzalez Rogers
21                                                      DATE:     September 6, 2022
22                                                      TIME:     2:00 p.m.
                                                        LOCATION: Oakland Courthouse
23                                                                Courtroom 1 - 4th Floor

24

25          I, Jodi Nuss, declare as follows:

26          1.      I am over 18 years of age, and the matters stated herein are based on my personal

27   knowledge, except as otherwise noted. If called upon, I would competently testify to them.

28     DECLARATION OF JODI NUSS IN SUPPORT OF PLAINTIFFS’ SECOND RENEWED
                      MOTION FOR CLASS CERTIFICATION - 1
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 1          2.      I am a senior paralegal at the law firm of Terrell Marshall Law Group PLLC,
 2   counsel of record for Plaintiffs in this matter. I respectfully submit this declaration in support of
 3   Plaintiffs’ Second Renewed Motion for Class Certification.
 4          3.      I was asked to identify the wireless telephone numbers listed on Exhibit 2 to Anya
 5   Verkhovskaya’s Second Supplemental Report that received telephone calls only or both
 6   telephone calls and text messages. To do this I reviewed an Excel version of Exhibit 2 and, using
 7   Excel’s standard filter tool, removed all telephone numbers with “blanks” in the “call” column.
 8   After removing the numbers that did not receive calls, 529,201 unique numbers remained.
 9          4.      I next was asked to compare the list of 529,201 wireless telephone numbers that
10   received calls to the list of 4,533 telephone numbers that Ms. Verkhovskaya identified as having
11   received two or more calls within a twelve-month period after being listed on the National Do-
12   Not-Call Registry for at least 31 days (Verkhovskaya Report ¶¶ 37-43, Ex. C) and count the total
13   unique numbers between the two sets. I used Alteryx, a data analytics tool, to identify 530,007
14   unique telephone numbers between the two lists. I will refer to those numbers as the Class List.
15          5.      I next was asked to join the Class List with lead data produced by Fluent and Lead
16   Science in Fluent_000441 and Fluent_000572, and Lead Science_000586. I again used Alteryx
17   to join that data and create a list I will call the Class List With Lead Data. There are 530,006
18   numbers on the Class List With Lead Data. This means that there is no Lead Data for 1 number.
19          6.      I next was asked to identify any telephone numbers on the Class List that also
20   were on the “hundred numbers list” that Fluent produced in this case at FLUENT_004052. Note
21   that the name “hundred numbers list” is a misnomer as the file contains leads for only 99 unique
22   numbers. Using Alteryx, I identified 77 numbers on the Class List for which data existed on the
23   hundred numbers list. For each of the identified numbers I joined the telephone number with the
24   lead data on the hundred numbers list and created a list called the “Class List with Hundred
25   Numbers Lead Data.”
26          7.      I next was asked to review the “Class List With Lead Data” to identify any
27   telephone numbers that Ms. Verkhovskaya had identified as obviously invalid leads or that had
28     DECLARATION OF JODI NUSS IN SUPPORT OF PLAINTIFFS’ SECOND RENEWED
                      MOTION FOR CLASS CERTIFICATION - 2
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 1   received a Do-Not-Call request. I did this by using Alteryx to compare Exhibits 4-5 to Ms.
 2   Verkhovskaya’s Second Supplemental Report to the “Class List With Lead Data” and the “Class
 3   List With Hundred Numbers Lead Data.” I identified the following:
 4                      51,161 telephone numbers on the Class List associated with leads that Ms.
 5                       Verkhovskaya identified as having a patently fictitious address. These telephone
 6                       numbers received 129,276 calls and 251,586 text messages;
 7                      136,413 telephone numbers on the Class List where a Do-Not-Call Request was
 8                       submitted via text message. These telephone numbers received 197,299 calls
 9                       and 481,600 text messages.
10          8.          I next was asked to review the “Class List With Lead Data” to identify any
11   telephone numbers associated with leads in which the first or last names were obviously invalid.
12   I did this by using Alteryx to compare the names listed in Exhibits D and E to Ms.
13   Verkhovskaya’s Expert Report to the “Class List With Lead Data.” I identified 5,979 telephone
14   numbers on the Class List associated with leads that Ms. Verkhovskaya identified as having
15   obviously invalid first or last names. These telephone numbers received 15,180 calls and 29,781
16   text messages.
17          9.          I next was asked to review the lists identified in paragraph 7 above to identify any
18   telephone numbers that had obviously invalid first or last names. To do this I used Alteryx to
19   normalize the first and last name fields for analysis. I removed all non-printable characters,
20   extraneous whitespace, numbers, punctuation, and symbols from both fields. I decomposed any
21   Unicode characters capable of being converted to a letter in the English alphabet. For example,
22   “Dương” was converted to “Duong,” Sàck was converted to “Sack,” “ᴬᵀᵂᴱᴸᴸ” was converted to
23   “ATWELL,” etc. Finally, I set all first and last names to upper case.
24          10.         Next, I filtered the cleansed first and last names to identify phone numbers
25   associated with leads where the name fields meet any of the following conditions:
26
                 First or last names contain zero letters;
27               First or last names contain a single letter;

28     DECLARATION OF JODI NUSS IN SUPPORT OF PLAINTIFFS’ SECOND RENEWED
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                    First or last names contain a null value;
 1
                    First or last names contain only consonants and contain three or more letters;
 2                  First or last names contain only vowels and contain three or more letters;
                    First or last names contain field placeholders or terms describing the parameter
 3                   contained in the field (“name,” “subscriber,” “capitalized,” “firstname,” “lastname,”
                     “first name,” and “last name”);
 4
                    First name is “first” and the last name is “last;”
 5                  First or last names contain common non-word letter combinations (“blah,” “asdf,”
                     “jkl,” “qwert,” and “uiop”)
 6
               11.      The filters I applied were based on Regular Expressions crafted to ensure that
 7
     potentially valid names, described in paragraphs 19-21, and 23 of the Second Supplemental
 8
     Expert Report of David Kalat, were not erroneously counted as invalid. With all of these
 9
     safeguards in place, I identified 5,918 telephone numbers on the Class List associated with leads
10
     with obviously invalid first or last names. These telephone numbers received 14,857 calls and
11
     28,838 text messages. The names that I identified as invalid include some names not identified
12
     by Ms. Verkhovskaya and omit some criticized by Mr. Kalat in his Second Supplemental Expert
13
     report.
14
               12.      I have attached as Exhibit 1 to this declaration an excerpt of the lead data for the
15
     5,979 telephone numbers on the Class List that Ms. Verkhovskaya identified as having obviously
16
     invalid first or last names.
17
               13.      I have attached as Exhibit 2 to this declaration excerpt of the lead data for the
18
     5,918 telephone numbers on the Class List that I identified as having obviously invalid first or
19
     last names.
20
               I declare under penalty of perjury under the laws of the United States of America that the
21
     foregoing is true and correct.
22
               EXECUTED this 1st day of July, 2022, at Seattle, Washington.
23

24                                                     By:
25                                                                    Jodi Nuss

26

27

28     DECLARATION OF JODI NUSS IN SUPPORT OF PLAINTIFFS’ SECOND RENEWED
                      MOTION FOR CLASS CERTIFICATION - 4
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